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                                                         NON-CONFIDENTIAL VERSION




      UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                )
DOMTAR CORPORTATION             )
                                )
              Plaintiff,        )
                                )
    v.                          )                  Court No. 24-00113
                                )
UNITED STATES,                  )
                                )
         Defendant,             )
                                )
    and                         )
                                )
KOEHLER PAPER SE,               )
MATRA AMERICAS LLC and,         )
MATRA ATLANTIC GmbH,            )
                                )
         Defendant-Intervenors. )
                                )

                DOMTAR CORPORATION’S
      MOTION FOR JUDGMENT ON THE AGENCY RECORD

      Pursuant to Rule 56.2 of the Rules of this Court, Plaintiff Domtar

Corporation moves for judgment on the agency record with regard to certain

aspects of the determination of the United States Department of Commerce

(“Commerce”) in Thermal Paper From the Federal Republic of Germany:

Final Results of Antidumping Duty Administrative Review; 2021–2022, 89

Fed. Reg. 47517 (Dep’t Commerce June 3, 2024) (the “Final Results”).
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      Plaintiff respectfully requests the Court to rule that certain aspects of

the Final Results are unsupported by substantial evidence on the record or

otherwise not in accordance with law. Plaintiff further requests that the

Court remand the Final Results to Commerce with instructions to reconsider

whether interest on unpaid antidumping duties should be deducted from

constructed export price. The reasons justifying this motion are set forth in

the accompanying Memorandum Of Law In Support Of Domtar

Corporation’s Rule 56.2 Motion For Judgment Upon The Agency Record.

                                        Respectfully submitted,


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January 31, 2025




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      UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                )
DOMTAR CORPORTATION             )
                                )
              Plaintiff,        )
                                )
    v.                          )                Court No. 24-00113
                                )
UNITED STATES,                  )
                                )
         Defendant,             )
                                )
    and                         )
                                )
KOEHLER PAPER SE,               )
MATRA AMERICAS LLC and,         )
MATRA ATLANTIC GmbH,            )
                                )
         Defendant-Intervenors. )
                                )

                                  ORDER

      Upon consideration of Domtar Corporation’s Rule 56.2 Motion For

Judgment Upon The Agency Record, and upon consideration of other papers

and proceedings herein, it is hereby

      ORDERED that the motion is granted; and it is further

      ORDERED that this case is remanded to the U.S. Department of

Commerce (“Commerce”) with instructions to reconsider whether interest
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on unpaid antidumping duties should be deducted from constructed export

price and to recalculate Koehler’s dumping margin consistent with the

Court’s opinion.


                                     ______________________________
                                     Judge
                                     U.S. Court of International Trade
Dated:




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                                                      NON-CONFIDENTIAL VERSION




         UNITED STATES COURT OF INTERNATIONAL TRADE
        BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                )
DOMTAR CORPORTATION             )
                                )
               Plaintiff,       )
                                )
v.                              )            Court No. 24-00113
                                )
UNITED STATES,                  )
                                )
    Defendant,                  )
                                )
    and                         )
                                )
KOEHLER PAPER SE,               )
MATRA AMERICAS LLC and,         )
MATRA ATLANTIC GmbH,            )
                                )
         Defendant-Intervenors. )
                                )


         PLAINTIFF DOMTAR CORPORATION’S
 MEMORANDUM OF LAW IN SUPPORT OF RULE 56.2 MOTION FOR
        JUDGMENT UPON THE AGENCY RECORD


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January 31, 2025
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             PLAINTIFF DOMTAR CORPORATION’S
     MEMORANDUM OF LAW IN SUPPORT OF RULE 56.2 MOTION FOR
            JUDGMENT UPON THE AGENCY RECORD

        Plaintiff Domtar Corporation submits the following memorandum in support

of its Motion for Judgment on the Agency Record in accordance with Rule 56.2(c)

of the Rules of the United States Court of International Trade. For the reasons set

forth below, Plaintiff respectfully request that the Court reverse the challenged

determination of the U.S. Department of Commerce (“Commerce”) and remand

with instructions to recalculate the dumping margin for the respondent Koehler

Paper SE (“Koehler”).


                    STATEMENT PURSUANT TO RULE 56.2

I.      ADMINISTRATIVE DETERMINATION SOUGHT TO BE
        REVIEWED

        Plaintiff seeks review of the final results of the first administrative review of

the antidumping duty order on thermal paper from Germany. See Thermal Paper

From the Federal Republic of Germany: Final Results of Antidumping Duty

Administrative Review; 2021–2022, 89 Fed. Reg. 47517 (Dep’t Commerce June 3,

2024) (P.R. 140) and the accompanying Issues and Decision Memorandum

(“IDM”) dated May 24, 2024 (P.R. 135) (altogether, the “Final Results”).
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II.    PROCEDURAL HISTORY

       The first administrative review of the antidumping order on thermal paper

from Germany was initiated on December 22, 2022. Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 88 Fed. Reg. 50 (Jan. 3, 2023) (P.R.

10). The period of review (“POR”) covered entries during May 12, 2021,

through October 31, 2022. Id. Koehler was the only individually examined

producer/exporter in the review, and in the preliminary results, Commerce

calculated a margin of 0.75 percent for that company. Thermal Paper From

Germany: Preliminary Results of Antidumping Duty Administrative Review; 2021-

2022, 88 Fed. Reg. 83397 (Nov. 29, 2023) (P.R. 114). The dumping margin was

based on Koehler’s reported constructed export price (“CEP”) sales through its

affiliated U.S. reseller, Matra Americas, LLC (“Matra”). Decision Memorandum

for the Preliminary Results (Nov. 21, 2023) at 2-3, and 9-10 (P.R. 104).

Commerce issued its Final Results on May 24, 2024, in which the margin was

revised to 0.76 percent. Thermal Paper From the Federal Republic of Germany:

Final Results of Antidumping Duty Administrative Review; 2021–2022, 89 Fed.

Reg. 47517 (Dep’t Commerce June 3, 2024) (P.R. 140). This appeal ensued.




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III.    ISSUES PRESENTED

        This appeal presents the following issue:

        • Whether Commerce’s decision to treat interest accruing on unpaid
          antidumping duties during the POR as a component of Koehler’s cost of
          production – rather than as a deduction from United States price – was
          supported by substantial evidence and in accordance with law.

For the reasons explained below, Commerce’s decision with respect to this issue is

unsupported by substantial evidence and otherwise not in accordance with law.


IV.     STANDARD OF REVIEW

        The statute requires the Court to “hold unlawful any determination, finding,

or conclusion found … to be unsupported by substantial evidence on the record, or

otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B). Substantial

evidence is evidence that “a reasonable mind might accept as adequate to support a

conclusion.” Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229 (1938). Under

the substantial evidence standard, the Court is not to reweigh the evidence or

substitute its judgment for that of Commerce. Metallverken Nederland B.V. v.

United States, 13 CIT 1013, 1017, 728 F. Supp. 730, 734 (1989). The Court,

however, must take into account the entire record, including evidence that detracts

from the conclusion reached by Commerce. Universal Camera Corp. v. NLRB,

340 U.S. 474, 488 (1951). See also CS Wind Vietnam Co. v. United States, 832

F.3d 1367, 1373 (Fed. Cir. 2016) (Commerce “must take into account whatever in



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the record fairly detracts from” the weight of the evidence). “Although Commerce

is not required to address all the evidence submitted,” the agency “must address

any arguments made by the parties that are material to Commerce’s

determination.” Suzano S.A. v. United States, 46 CIT ___, ___, 589 F. Supp. 3d

1225, 1233 (2022), quoting Itochu Bldg. Prods., Co., Inc. v. United States, 40

CIT__, __, 163 F. Supp. 3d 1330, 1337 (2016). “An argument is material if it is a

‘focal point’ of a party’s argument or if a final determination cannot be

‘sufficiently reviewed without specific discussion of the issue.’” Id., quoting

Asociacion Colombiana de Exportadores de Flores v. United States, 12 CIT 1174,

1177, 704 F. Supp. 1068, 1071 (1988).


                                    ARGUMENT

I.    COMMERCE ERRED IN FAILING TO REDUCE CEP BY
      INTEREST ON UNPAID ANTIDUMPING DUTIES

      A. Introduction

      This Court is familiar with the factual background giving rise to the issue in

this dispute, but it bears repeating. Prior to the investigation giving rise to the

current thermal paper antidumping duty order that was the subject of the

underlying review (case number A-428-850), Koehler was a respondent in an

antidumping proceeding involving substantially the same product, i.e., lightweight

thermal paper (“LWTP”). The order on LWTP from Germany (case number A-

428-840) issued in 2008 and was later revoked at the conclusion of a sunset review

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in 2015. See Lightweight Thermal Paper From the People's Republic of China and

Germany: Continuation of the Antidumping and Countervailing Duty Orders on

the People's Republic of China, Revocation of the Antidumping Duty Order on

Germany, 80 Fed. Reg. 5083 (Dep’t Commerce Jan. 30, 2015).

      In the second and third administrative reviews of that prior proceeding,

Koehler attempted to reduce or eliminate its dumping margin through “fraudulent

conduct” (by concealing from Commerce certain transshipped sales), resulting in

the application of total adverse facts available (“AFA”). Papierfabrik August

Koehler AG v. United States, 180 F. Supp. 3d 1211, 1221 (CIT 2016) (upholding

use of AFA to address “fraudulent conduct” in the second administrative review),

aff’d at 710 Fed. Appx. 889 (Fed. Cir. 2018), cert denied, 139 S. Ct. 1290 (2019).

See also Papierfabrik August Koehler SE v. United States, 843 F.3d 1373, 1383

(Fed. Cir. 2016) (upholding use of AFA to address “fraudulent sales data” in the

third administrative review), cert denied, 138 S. Ct. 555 (2017). Koehler appealed

Commerce’s application of total AFA, but those appeals were unsuccessful. Id.

      Once the litigation concluded, Koehler was assessed roughly $200 million in

antidumping duties for entries subject to the second and third administrative

reviews of the LWTP order. See Petitioners’ Comments On The Initial

Questionnaire Responses And Submission Of Rebuttal Factual Information (April

14, 2023) at Attachment 1, pages 2-6 and att. 1 (P.R. 52). Although that liability



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has been final and conclusive for years, it remained unpaid during the instant POR.

See IDM at 5-7 (P.R. 135). Indeed, as of this writing, the same $200 million

liability still has not been paid and is now the subject of an ongoing collections

action by the government in Court No. 24-00014. See United States v. Koehler

Oberkirch GmbH, 728 F. Supp. 3d 1322, 1325-26 (Ct. Int’l Tr. 2024).

      Because U.S. Customs and Border Patrol (“CBP”) charges interest on

unpaid antidumping assessments, interest arising from the $200 million liability

accrues each year. In the original investigation conducted during 2021, Commerce

captured those interest expenses accruing during the period of investigation

(“POI”) within the financial expense ratio, i.e., a component of cost of production

(“COP”). Thermal Paper From Germany: Final Affirmative Determination of

Sales at Less Than Fair Value and Final Affirmative Determination of Critical

Circumstances, in Part, 86 Fed. Reg. 54152 (Sept. 30, 2021) at Comment 5. The

domestic industry appealed that decision, arguing that Commerce failed to explain

why it was appropriate to treat such interest expenses as a component of COP

instead of as indirect selling expenses to be deducted from CEP. Matra Americas,

LLC v. United States, 681 F. Supp. 3d 1339, 1380-82 (Ct. Int’l Tr. 2024). This

Court agreed, and it remanded the matter “to allow Commerce to reconsider its

position or supply an explanation.” Id. at 1382. At the time of this writing, that




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remand proceeding remains stayed pending resolution by the Federal Circuit of an

unrelated issue in Stupp Corp. v. United States. See id.

      During the instant first review period, the amount of interest accruing on the

unpaid antidumping duties was $[               ]. Koehler’s Supplemental Section A

Response (Aug. 22, 2023) at Exhibit SA-23 (C.R. 148). In the preliminary results,

however, Commerce did not capture this amount within U.S. indirect selling

expenses. Instead, as in the investigation, Commerce recalculated the financial

expense ratio to include the interest expenses accruing during the fiscal year.

Decision Memorandum for the Preliminary Results (Nov. 21, 2023) at 12 (P.R.

104). The domestic industry filed a case brief arguing that the interest expenses

should instead be deducted from CEP as indirect selling expenses. Petitioners’

Case Brief (April 26, 2024) at 6-9 (C.R. 263).

      In the Final Results, Commerce declined to alter its methodology, although

(for the first time) it did provide an explanation. IDM at 6-7 (P.R. 135). That

explanation is unsupported by substantial evidence and is not in accordance with

law for the reasons set forth below.

      B. The Interest Expense At Issue Should Have Been Deducted From
         CEP As An Indirect Selling Expense

      Commerce, in the Final Results, should have treated the $[              ] of

interest expense at issue as an indirect selling expense (“ISE”) to be deducted from

CEP. The interest on Koehler’s unpaid antidumping duty liability related


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specifically to the company’s U.S. thermal paper sales and to activities occurring

in the United States, and thus, it should have been treated as a U.S. ISE pursuant to

19 U.S.C. § 1677a(d)(1)(D) and 19 C.F.R. § 351.402(b).

      The statute permits the deduction of “any selling expenses,” whether

incurred by the foreign producer or an affiliated reseller in the United States, “in

selling the subject merchandise.” 19 U.S.C. § 1677a(d)(1). The applicable

regulation clarifies that Commerce “will make adjustments for expenses associated

with commercial activities in the United States that relate to the sale to an

unaffiliated purchaser, no matter where or when paid.” 19 C.F.R. § 351.402(b).

Commerce’s established practice under these provisions is to treat interest

expenses incurred in selling the subject merchandise as ISEs (i.e., price

deductions) rather than as financial expenses (i.e., cost components). See Certain

Aluminum Foil From the Republic of Türkiye: Final Results of Antidumping Duty

Administrative Review; 2021-2022, 89 Fed. Reg. 48889 (June 10, 2024), Dec.

Memo at Comment 4. Moreover, expenses may be treated as ISEs even if they are

incurred by the producer or exporter located outside the United States. See Assan

Aluminyum Sanayi Ve Ticaret A.S. v. United States, 48 CIT __, Slip Op. 2024-56

(May 8, 2024) at 30-33.

      During the periods giving rise to the underlying liabilities at issue here,

Koehler itself served as the importer of record and made direct sales of thermal



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paper to unaffiliated U.S. customers. See Lightweight Thermal Paper from

Germany, 76 Fed. Reg. 76360, 76364 (Dec. 7, 2011) (preliminary results of the

2009-2010 second administrative review) (“In the U.S. market, Koehler reported

that its sales were made through three channels of distribution: (1) Market direct-

shipment sales through its U.S. affiliated distributor, Koehler America, Inc. (i.e.,

CEP sales), (2) warehouse sales made through Koehler America, Inc. (i.e., CEP

sales), (3) and direct sales from Koehler AG to the customer (i.e., EP sales)….

Koehler has reported that it served as the importer of record for all of its U.S. sales

during the POR”). The antidumping duties were “associated with commercial

activities in the United States,” and they necessarily “relate{d} to the sale to an

unaffiliated purchaser.” Any interest accruing during the instant review period on

such underlying liabilities should similarly have been deemed to relate to the same

U.S. economic activities, and thus, it should have been treated as a price

adjustment rather than as a cost component.

      In the Final Results, Commerce erroneously decided not to treat the interest

at issue as U.S. indirect selling expenses. The reason given was because the

underlying liability arose from thermal paper imports subject to the 2008 order

rather than the current 2021 order. IDM at 6-7 (P.R. 135). Commerce did not

explain why this purported distinction was dispositive under the applicable statute

and regulation. Moreover, Commerce’s interpretation is unreasonable in view of



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the facts that (1) both the 2008 and 2021 orders covered the same merchandise,1

and (2) there is no disconnect between the interest accruing during the instant May

12, 2021 through October 31, 2022 period of review and Koehler’s CEP sales

during that same period. The interest expenses at issue clearly arose from

Koehler’s thermal paper sales into the United States, and that alone is sufficient

under the plain language of the statute and regulation to treat them as ISEs.

Commerce’s decision not to treat the interest as selling expenses to be deducted

from CEP was unsupported by substantial evidence and was not in accordance

with law, and this case should be remanded for Commerce to reconsider its

position and recalculate Koehler’s dumping margin.

       Plaintiff believes that recharacterizing the interest expenses at issue as U.S.

ISEs is not only required by the statute but also makes for good policy. Koehler

should not be permitted to maintain virtually duty-free access to the U.S. thermal

paper market, as would be enabled by the insignificant margin calculated in the

Final Results, without paying final assessments on past thermal paper entries.

Allowing respondents like Koehler to avoid the payment of antidumping duties –

       1
               The scope of the 2021 thermal paper order includes everything covered by the
scope of the 2008 LWTP order (i.e., jumbo and converted thermal paper rolls in basis weights of
70 grams per square meter or less). The scope of the 2021 order is slightly broader, because it
also encompasses jumbo rolls in basis weights exceeding 70 grams per square meter. Compare
IDM at 2 (setting forth the scope of the 2021 order) (P.R. 135) with Lightweight Thermal Paper
from Germany, 76 Fed. Reg. 76360, 76361 (Dec. 7, 2011) (setting forth the scope of the 2008
order). Accordingly, all of Koehler’s thermal paper sales giving rise to the $200 million liability
under the 2008 order also would fall within the scope of the 2021 order if imported today.



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without it having any material impact on the calculation of dumping margins for

entries made during the periods of nonpayment – would substantially diminish

respondents’ incentives for cooperating in these proceedings or for paying debts

arising from these proceedings to the U.S. government. At the moment, Koehler

has no incentive to resolve the separate collections action pending before this

Court in case number 24-00014, as demonstrated by Koehler’s extensive efforts to

contest service of process. See United States v. Koehler Oberkirch GmbH, 728 F.

Supp. 3d 1322 (Ct. Int’l Tr. 2024) (granting the government’s motion for alternate

service); United States v. Koehler Oberkirch GmbH, 731 F. Supp. 3d 1377 (Ct.

Int’l Tr. 2024) (denying Koehler’s motion for interlocutory appeal of the service

issue); In re: Koehler Oberkirch GmbH, 2025 U.S. App. LEXIS 1001 (Fed. Cir.

Jan. 16, 2025) (denying Koehler’s requested writ of mandamus on the service

issue). If the interest on the outstanding debt were treated in such a way that it

generated dumping margins on Koehler’s current exports (i.e., by deducting the

expense from CEP), it would create an incentive for Koehler to (1) discontinue

efforts to contest service of process in the ongoing collections litigation and (2)

ultimately resolve its outstanding debt, thereby ensuring that interest will not

continue to accrue in future periods in a way that significantly impacts dumping

margins in this proceeding.




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                CONCLUSION AND PRAYER FOR RELIEF

      For the reasons set forth above, the Plaintiff requests that the Court enter

judgment on the administrative record in its favor and remand the Final Results

with instructions for Commerce to reconsider whether interest on unpaid

antidumping duties should be deducted from CEP.


                                       Respectfully submitted,


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January 31, 2025




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                    CERTIFICATE OF COMPLIANCE
                   WITH WORD COUNT LIMITATIONS

      Pursuant to paragraph 2(B)(2) of the U.S. Court of International Trade’s

Standard Chambers Procedures, the undersigned certifies that this brief complies

with the word count limitations set forth in the Court’s scheduling order.

Exclusive of the exempted portions, as provided in paragraph 2(B)(1), this brief

includes 2,596 words. In preparing this certificate, the undersigned has relied upon

the word count feature of the word-processing system used to prepare the

submission.




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January 31, 2025
